          Case 6:18-cr-10065-EFM Document 3 Filed 05/23/18 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                   Plaintiff,                )      Criminal Action
                                             )
     v.                                      )    Case No. 18-10065-01,02.03-EFM
                                             )
TYLER R. BARRISS,                            )
SHANE GASKILL,                               )
and CASEY S. VINER,                          )
                                             )
                   Defendants.               )


                                      ORDER

     On motion of counsel for the Government, good cause appearing therefore,

     IT IS ORDERED that the Indictment filed in this case on May 22, 2018, be unsealed.




                                       ______________________________________
                                       HONORABLE GWYNNE E. BIRZER
                                       UNITED STATES MAGISTRATE JUDGE
